                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA


UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:10-cr-46
v.                                                  )
                                                    )       MATTICE / LEE
JODY BURGANS                                        )
                                                    )


                                           ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the three-count

Indictment; (2) accept Defendant’s plea of guilty to the charge in Count One; (3) adjudicate

Defendant guilty of the charge in Count One; (4) defer a decision on whether to accept the plea

agreement until sentencing; and (5) Defendant has been released on bond under appropriate

conditions of release pending sentencing in this matter without objection [Doc. 43]. Neither party

filed a timely objection to the report and recommendation. After reviewing the record, the Court

agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

and ADOPTS the magistrate judge’s report and recommendation [Doc. 43] pursuant to 28 U.S.C.

§ 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to the charge in Count One is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charge in Count One;




 Case 1:10-cr-00046       Document 51        Filed 06/21/10     Page 1 of 2       PageID #: 111
     (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

           and

     (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

           pending sentencing in this matter without objection which is scheduled to take place

           on Monday, September 13, 2010 at 9:00 a.m. before the Honorable Harry S.

           Mattice, Jr.

     SO ORDERED.

     ENTER:

                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




                                            2


Case 1:10-cr-00046        Document 51    Filed 06/21/10      Page 2 of 2     PageID #: 112
